Case 24-50512-grs Doc 25 Filed 05/14/24 Entered 05/14/24 11:54:09 Desc Main
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Debtor 4 Donald Anthony Fitzpatrick
First Name Middle Name Last Name
Debtor 2 Ashley Louise Fitzpatrick
(Spouse if, filing) First Name Middle Name Last Name
United States Bankruptcy Court forthe: EASTERN DISTRICT OF KENTUCKY
Case number 24-50512-grs
(if known) OO Check if this is an

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this farm. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of tris page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B....o..- 2.2... coe coc eee cece ese ecte etve cee teeceveuveseeevetveeereeeveseeees

1b. Copy line 62, Total personal property, from Schedule AVB. ..0...0........c.cccccccceeseeseceseectessseeseceeetdedesecpedestoserseeeeyeeeeees
ic. Copy line 63, Total of all property on Schedule A/B....2......cccccccce ccs cccceteetscesesblaseestseaee sseuestusevsscesessvossesssecerectiecse

Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Prcperty (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last pags of Part 1 of Schedule D....

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EVF......2..ccc.cccccceccsssees

Your total liabilities | $

meee Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 Of SCHSCUIE 1... ec ccccceccersotercesessseescveeaepeertescsssscseesevapsarseseareaceees

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIe Joo......ccecceccesecsssessessssencsacotseveeaseeseussnarevavanrensceese

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

Your assets
Value of what you own

$ 337,500.00
$ 459,085.00
$ 796,585.00

Your liabilities
Amount you owe

$ 805,650.68

$ 0.00

$ 2,156,309.71
2,961,960.39

$ 11,616.75

$ 14,056.95

O No. You have nothing to report on this part of the form. Check this box and submit -his form to the court with your other schedules.

HM Yes
7. What kind of debt do you have?

1 +Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or

household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

@ Your debts are not primarily consumer debts. Ycu have nothing to report on this part of the form. Check this box and submit this form to

the court with your other schedules.
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Debtor1 Donald Anthony Fitzpatrick
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8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $
Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through 9f. $
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